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                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,          )
                                   )
               Plaintiff,          )              CRIMINAL ACTION
                                   )
v.                                 )              No. 12-10089-01-23
                                   )
Jason Najera, Pedro Garcia,        )
Gonzalo Ramirez, Russell Worthey, )
Anthony Wright, Joshua Flores,     )
Jesus Flores, Angel Cerda,         )
Juan Torres, Alfredo Beltran-Ruiz, )
Donte Barnes, Jesus Sanchez,       )
Enrique Gobin, Alfonso             )
Banda-Hernandez, Andrew Gusman,    )
Eusebio Sierra-Medrano, Jayson     )
Vargas, Adam Flores, Fabian Neave, )
Jesus Torres, Jose Neave, Hernan   )
Quezada,                           )
                                   )
               Defendants.         )
                                   )
                               MEMORANDUM AND ORDER
        This case comes before the court on the admissibility of certain
statements made by alleged coconspirators.                  The court held hearings
on    February    13,   2013,    to   determine       the    admissibility      of   the
statements.      Shane Webb, a deputy sheriff, Jay Bice, a detective with
the Dodge City police department, and James Nau, an agent with the
Kansas Department of Revenue, testified as witnesses.                       The court
explained to defendants present at the hearings1 their rights to
testify     and/or   call     witnesses.      After    consulting    with      counsel,
defendants declined to testify or call witnesses.                 Subsequent to the

        1
       The following defendants were present at the hearing: Jason
Najera, Pedro Garcia, Gonzalo Ramirez, Joshua Flores, Donte Barnes,
Enrique Gobin, Alfonso Banda-Hernandez, Andrew Gusman, Jayson Vargas,
Adam Flores, Fabian Neave and Jose Neave. The remaining defendants
were not present because the statements are not going to be offered
against them at trial or because they do not object to the admission
of the statements.
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hearings, defendants filed supplemental memoranda in objection to the
admissibility of the statements.2             (Docs. 526, 527, 5283, 532, 533,
534, 537, 538, 539, 543).        The government filed responses in support
of the admissibility of the statements.              (Docs. 540, 588).
I.      Facts and Procedural History
        On April 16, 2012, the grand jury returned an indictment against
23 defendants.       The indictment alleges 38 counts, including charges
of violent crimes in aid of racketeering, conspiracy and felon in
possession of a firearm.        The indictment alleges that defendants were
in a criminal organization, the Nortenos gang, whose members engaged
in narcotics distribution and acts of violence involving murder and
robbery.       These crimes are alleged to have been committed in Dodge
City, Kansas.       The indictment further alleges that the racketeering
conspiracy began in 2008 and continued through the date of the
indictment.
        Eight defendants are charged in count 1 with conspiracy to commit
racketeering activities in violation of 18 U.S.C. § 1962(d). The RICO
conspiracy alleged in count 1 occurred from 2008 through April 16,
2012.       Counts 2, 8, 10, 15, 19, 24 and 28 charge VICAR conspiracies
in violation of 18 U.S.C. § 1959.            The remaining counts allege VICAR
substantive offenses along with charges of possession of a firearm in
furtherance of a crime of violence. The government seeks to introduce

        2
       Defendant Juan Torres filed a motion to join defendant Angel
Cerda’s motion to exclude. (Doc. 534). The motion is denied as moot
because the government has not offered any statements against Torres.
        3
       Defendant Cerda moves to exclude co-conspirator statements
offered against him. At this time, the government has not identified
any statements it seeks to offer against Cerda. Therefore, Cerda’s
motion is denied, without prejudice.

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15    statements    concerning    seven    different      events    charged     in   the
indictment.
Statements 1a, 1b, 1c, 2a, 2b and 2c
        On June 8, 2009, a robbery occurred at 1005 Avenue E in Dodge
City, Kansas.       Four to six individuals were armed and broke into the
residence.      The victims in the home were from Guatemala.                Witnesses
to    the   crime   identified    the     following     four     defendants     as   the
individuals who committed the robbery: Jesus Flores, Joshua Flores,
Pedro Garcia and Gonzalo Ramirez.            During the robbery, Ramirez hit a
victim on his head with a pistol and forced him into a room to look
for money.      The Dodge City police department had seen similar crimes
against victims from Guatemala.
        A confidential witness informed police that prior to the robbery
Jesus and Joshua Flores, Pedro Garcia and Gonzalo Ramirez were all at
1302 Avenue D, Garcia’s residence.                 Garcia or Ramirez made the
statement “lets go look for a house.”              (Exh. 1, statement 2a).           The
four defendants then left Garcia’s residence on foot and walked south
to the alley until they were behind 1005 Avenue E.                 Ramirez looked in
the back window and said “let’s kick this one” or “let’s do this
house.”     (Exh. 1, statement 2b).        Defendants then went around to the
front and robbed the victims. All four defendants participated in the
robbery and then returned to Garcia’s residence to divide the money.
With the exception of Joshua Flores, the witness informed police that
Jesus Flores, Pedro Garcia and Gonzalo Ramirez split the proceeds from
the robbery.
        There were other Nortenos gang members in Garcia’s residence
after the robbery, including defendants Anthony Wright and Russell

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Worthey.     Shortly after the robbery and while in Garcia’s basement,
Garcia or Ramirez said “let’s go get some scraps.” (Exh. 1, statement
1a).    “Scraps” is a derogatory term towards a Surenos gang member, a
rival gang to the Nortenos. Officer Webb testified that the statement
meant that they were going to confront Surenos’ gang members.                 Garcia
and Ramirez then left the house with Wright and Worthey.                    The four
defendants got into Wright’s vehicle armed with firearms.                      While
driving, Garcia told Wright to go east in order to avoid the cops in
Dodge City who were in the area of the robbery.              (Exh. 1, statement
2c).
        Garcia, Ramirez, Wright and Worthey drove to a mobile home park
at 201 E. McCarter in Dodge City.          The area is located on the South
side of Dodge City and is considered to be more likely to be lived in
by Surenos gang members.       They proceeded to lot number 24 where a
group of individuals, Israel Peralta, Mariano Sorano, Faustino Peralta
and Roberto Arco, were drinking alcohol.            Ramirez and Garcia fired
their weapons at the four individuals killing Israel Peralta.                    The
four defendants fled in the vehicle and drove back to Garcia’s
residence.     In the vehicle, Ramirez said to Garcia, “you really got
that one.”     (Exh. 1, statement 1b).        Garcia then told         Wright and
Worthey to “remember [that] you have kids.”            (Exh. 1, statement 1c).
Wright informed deputy Webb that he interpreted Garcia’s statement as
a threat toward his family and an instruction to not say anything
about the shooting.
Statements 3 and 3a
        On March 15, 2011, a shooting occurred at 1705 Ave D in Dodge
City.     The victim, Reyes Delera Padilla, a Surenos gang member,

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reported that a red Lincoln pulled up and an individual “threw up”
Norteno gang signs. Padilla went inside his home to ensure the safety
of his family.     Padilla then left his home and observed the red
Lincoln parked around the corner.          At that time, Padilla heard a
gunshot.     Padilla got into his vehicle and rammed it into the red
Lincoln to “mark it.”       Padilla then called his brother-in-law who
immediately came to the Padilla’s home.              Padilla observed a tan
Lincoln parked with two passengers approximately two houses down from
his house.    Padilla parked in the driveway which is located in the
back alley.    Padilla and his brother-in-law were on the south side of
the house when Padilla observed an individual a couple of houses away,
saw a muzzle flash, and heard gunshots.          The tan Lincoln then drove
down the alleyway behind the house.          At some point, Padilla’s wife
called 911.
     The tan Lincoln was stopped by Sergeant Meridian approximately
one block away.     Defendant Donte Barnes was the sole occupant and
driver of the tan Lincoln and he was placed under arrest.              Defendant
Alfredo Beltran-Ruiz was arrested on a probation violation at a later
date. On March 20, Laura Rodriguez, defendant Enrique Gobin’s mother,
visited Beltran-Ruiz when he was in custody.                During the visit,
Rodriguez asked Beltran-Ruiz, where “it” was.                Beltran-Ruiz told
Rodriguez to go to defendant Humberto Ortiz’ house and that “it” was
under the lawnmower in the shed.            (Exh. 1, statement 3).           Law
enforcement officers went to the location and retrieved a .22 caliber
revolver under the lawnmower.
     On March 25, 2011, Beltran-Ruiz was visited at the jail by an
individual named Destiny.      The following conversation occurred:

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              Beltran stated: What time Snipes have court on the
       7th?
              Destiny replies: What time's what.
            Beltran states: What time does home boy got court on
       the 7th?
            Destiny states: Fuck if I know. His lady called, like,
       oh, my God, he has court. And I'm like, all right.
              Beltran states: For real. Call her and be like, oh, my
       God.
            Destiny states: Not -- when he got locked up, she
       called me crying and was like why isn't Alfredo locked up,
       I thought they were together.
              Beltran stated: Yeah, we were, but I know how to run.
(Tr., Doc. 573 at 75, 76); (Exh. 1, statement 3a).
Statements 4a, 4b and 4c
       On March 30, George Gonzalez, a high ranking member of the
Surenos, was approached by Jesus Sanchez, Enrique Gobin, Alfonso
Banda-Hernandez and Andrew Gusman while he was getting gas at an East
Love’s gas station.         Defendants gave gang signs and slurs.                  Gonzalez
left the Love’s and began driving to his girlfriend’s house. Gonzalez
saw a Blazer and recognized Banda-Hernandez as the individual driving.
A   green     Plymouth    also    began    following    Gonzalez.          The     Plymouth
contained      Gobin,    Sanchez     and   an    individual       named   Yesenia     Rios.
Sanchez called Banda-Hernandez on his cell phone and told him to “come
where they are.”         (Exh. 1, statement 4a).         The two vehicles followed
Gonzalez around town. The driver4 of Gonzalez’ vehicle tried to speed
up.    At some point, Gonzalez exited the car and walked towards his
girlfriend’s house.         Gonzalez saw the Plymouth and the individual in


       4
           The identity of the driver was not established at the hearing.

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the rear passenger seat fired shots.
        Later, Yesenia Rios was interviewed and stated that Jesus Sanchez
shot at Gonzalez from the back seat.             At the time of the shooting,
Rios    was   under   the   influence   of    alcohol.         Banda-Hernandez   was
interviewed by police and stated that after the shooting, Sanchez
called him by cell phone and told him to get out of the area because
“it will be getting hot.”       (Exh. 1, statement 4c).            They immediately
left the area and met up at an unknown location.                Sanchez told Banda-
Hernandez that he shot at Gonzalez’ car.             (Exh. 1, statement 4b).
Statements 5a and 5b
        On April 30, a home invasion occurred at 609 E Spruce in Dodge
City.     The victims, who are Guatemalan, reported that two people
kicked in the door, held one victim at gunpoint and robbed him of
money.     A confidential witness spoke with defendant Jayson Vargas
about the robbery later that day. Vargas told the witness that he and
defendant Adam Flores committed a robbery.               Vargas told the witness
that he needed to get a new pair of shoes and gave the witness his old
shoes to get rid of.        (Exh. 1, statement 5a).            Vargas also gave the
witness money to buy the new shoes.            Vargas then showed the witness
the house they robbed and pointed to the window that the victim tried
to climb through during the robbery.            (Exh. 1, statement 5b).
Statement 6
        On August 20, 2011, Kendra Owens and Jose Luna were driving in
a vehicle and observed Jayson Vargas following them.                       Owens had
previously had been involved in a relationship with Vargas.                    Vargas
pulled up to their vehicle, pointed his gun and threatened Owens and



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Luna.       The Dodge City police believe that Vargas is in the LCC5 gang
which is affiliated with the Nortenos.             Vargas was arrested and the
firearm was found in his vehicle.
        Defendant Jason Najera is a member of the DV6 gang which is
associated with the Nortenos. At some later date in August 2011, both
Najera and Luna were incarcerated at the Ford County Detention Center.
Najera told Luna to tell Owens not to testify against Vargas or “bad
things may happen to her.”         (Tr., Doc. 574 at 35; exh. 1, statement
6).
Statement 7
        On August 27, 2011, Jesus Torres arrived at Humberto Ortiz’ home.
At that time, Jason Najera, Christy Sanchez and Jose Luna were at
Ortiz’ home which is in the 800 block of 9th Avenue.                  Jesus Torres
stated that he did not like “scraps” living by his mom’s house and
wanted to confront them.        (Exh. 1, statement 7).          Torres asked other
individuals in the home to go with him.                Luna, Torres and Najera
walked to 703 9th Avenue, where an individual lived who was associated
with the Surenos where a party was in progress.                After they arrived,
there was a verbal altercation between the individuals at the party
and Torres and Najera.          Jose Neave, Fabian Neave and Sanchez then
pulled up to the house in Jose’s vehicle.              Jose, Fabian, Najera and
Torres got in a physical altercation with various individuals at the
party and, as a result, Carlos Ramirez and Gabriel Rivera were
stabbed.


        5
            Los Carnales Chingones.
        6
            Diablos Viejos.

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      The government seeks to introduce all 15 statements during trial.
Defendants object to their introduction and assert that the statements
are inadmissible hearsay.
II.   Analysis
      Out-of-court statements made by coconspirators are non-hearsay
and admissible evidence under Fed. R. Evid. 801(d)(2)(E).7                 United
States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995).                      “Before
admitting evidence under this rule, ‘The court must determine that (1)
by a preponderance of the evidence,8 a conspiracy existed, (2) the
declarant and the defendant were both members of the conspiracy, and
(3) the statements were made in the course of and in furtherance of
the conspiracy.’” Id.      In determining whether Rule 801(d)(2)(E) is
met, the court may rely on the coconspirator statements themselves,
but the government must produce some “independent evidence” that a
conspiracy exists.
      The court will address each defendant’s argument in turn.
            Jayson Vargas and Adam Flores (Docs. 526, 535)
      Statements 5a, 5b and 6 are offered by the government against
Vargas.   Statements 5a and 5b are offered against Flores.            Vargas and
Flores argue that the statements are not admissible at trial because
the confidential informant who heard the statements did not testify.

      7
      Fed. R. Evid. 801(d)(2)(E) provides: “A statement is not hearsay
if ... [t]he statement is offered against a party and is ... a
statement by a coconspirator of a party during the course and in
furtherance of the conspiracy.”
      8
      In the present situation, preponderance of evidence is evidence
sufficient to persuade the court that a fact is more likely present
than not present. Tenth Circuit Pattern Criminal Federal Jury
Instruction 1.05.1.


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Rule 602 of the Federal Rules of Evidence states that “[a] witness may
not testify to a matter unless evidence is introduced sufficient to
support a finding that the witness has personal knowledge of the
matter. . . ”        These rules are relaxed during a James hearing;
however, at trial, the testimony will need to be presented through the
informant who heard the statement.       The government responds that the
informant will be available for trial.
     Vargas and Flores further contend that the statements are not
admissible as co-conspirator statements because the government has
failed to establish the existence of a conspiracy.             Statements 5a and
5b, however, were made by Vargas.          Therefore, these statements are
admissible pursuant to Fed. R. Evid. 804(b)(3) as statements against
interest.     However, the identification of Flores in both statements
is not admissible unless the government has established that a
conspiracy existed, both Vargas and Flores were members of the
conspiracy and that the statements were made in furtherance of the
conspiracy.
     “A person is a member of a conspiracy if he was aware of the
common purpose, willingly participated in the conspiracy, and intended
to advance the purpose of the conspiracy.”          United States v. Rutland,
705 F.3d 1238, 1251 (10th Cir. 2013).          The only evidence introduced
at the hearing pertaining to Adam Flores and his involvement were the
statements    made   by   Vargas   identifying      Flores.9       The      evidence

     9
       The government’s exhibit states that these statements are
admissible as to both the RICO conspiracy and the robbery conspiracy.
Flores, however, is not charged as a co-conspirator in the RICO
conspiracy. Moreover, the government has not responded to Flores’
position that he is not a member of any conspiracy. The government
has the burden of establishing that Flores is a conspirator and it has

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surrounding the events of the actual robbery do not identify who
committed the robbery.      Even assuming that Flores was a member of the
robbery   conspiracy,     the   statements    were    clearly    made   after   the
commission of the robbery.       A statement occurring after a robbery is
not made in furtherance of the conspiracy because at that point the
conspiracy has ended.      Rutland, 705 F.3d at 1252-53.          With respect to
part of statement 5a, the directive to get rid of the shoes and buy
new ones, this is an instruction and is not hearsay.                 Id. at 1253.
Therefore, it is irrelevant that the statement was made after the
conspiracy ended.    Id.
     The portions of statements 5a and 5b that identify Adam Flores
are not admissible. Statement 5a and 5b are admissible against Vargas
if the person to whom the statements were made testifies at trial.
     The testimony at the James hearing was that statement 6 was made
by Najera to Luna.    The government’s response brief, however, appears
to contend that the statement was made by Najera to Owens.               (Doc. 588
at 7).    Neither Luna or Owens are defendants.              The government must
call the witness to whom the statement was made in order for it to be
admissible at trial against Vargas.10
     The government asserts that this statement is admissible against
Vargas as a coconspirator statement because it was made in furtherance
of the RICO conspiracy alleged in count 1.
     The government recaps its evidence against Vargas as follows:



not met its burden.
     10
        Najera pled guilty to a VICAR conspiracy count and was
sentenced to 120 months imprisonment. The government has agreed that
it will not call Najera at trial.

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     both Jayson Vargas and Jason Najera were Nortenos gang
     members. There can be little question that it would be more
     likely true than not that Najera’s threat to Owens was
     motivated in large part because Najera and Vargas were
     members of the same gang and Najera did not want Owens to
     cooperate with the police against a fellow Norteno. Whether
     or not Vargas knew about the threat is irrelevant to this
     analysis.
(Doc. 588 at 7).
     Vargas argues that there is no evidence to support a finding that
he is a member of the RICO conspiracy and that the statement was made
in furtherance of the conspiracy. The evidence submitted at the James
hearing establishes that Vargas is a member of the LCC gang and Najera
is a member of the DV, both of which are affiliated with the Nortenos.
There was also testimony pertaining to a home invasion that occurred
in April 2011 and committed by Vargas.              The victims of the home
invasion were Guatemalan, a nationality that is targeted by the
various Nortenos’ gangs.        The court finds that this evidence is
sufficient to support a finding that both Najera and Vargas were
members of the RICO conspiracy, both were willing participants, and
both intended to advance its purpose which was to commit crimes.
     The   court   must   now   determine    if   statement     6   was     made   in
furtherance of the conspiracy.       With respect to statement 6, Vargas
is alleged to have pulled a gun on Owens while driving.                      Najera
allegedly threatened Owens if she cooperated in a prosecution against
Vargas.    The RICO conspiracy alleged in count 1 was still ongoing at
the time the threat was made.         The statement benefitted the RICO
conspiracy because it would prevent a member from being prosecuted.
See Rutland, 705 F.3d at 1253 (paying someone to keep quiet about a
crime is a statement in furtherance of a conspiracy); United States


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v. Carson, 455 F.3d 336, 367 (D.C. Cir. 2006)(attempts to silence a
witness is a statement in furtherance of a conspiracy).              Therefore,
the statement is admissible against Vargas.
      Pedro Garcia (Doc. 527) and Gonzalo Ramirez (Doc. 532)
     Statements 1a, 1b, 1c, 2a, 2b, and 2c are offered against Garcia
and Ramirez as evidence for the crimes alleged in counts 1 through 9,
including the RICO conspiracy in count 1, VICAR conspiracy to murder
alleged in count 2 and VICAR conspiracy to commit assault alleged in
count 8.   Garcia spends an extended amount of time arguing that the
government has not established that he is a member of the RICO
conspiracy because there is not interdependence between the members.
Garcia, however, cites to authority which deal with drug conspiracies
to support his position.    “Interdependence is an essential element of
a § 371 conspiracy.”      10th Cir. Criminal Pattern Jury Instructions
(2011), page 107.     It is not an element of a RICO conspiracy.             In
United States v. Harris, 695 F.3d 1125 (10th Cir. 2012), the Tenth
Circuit set forth the elements for a RICO conspiracy as follows:
          First: A conspiracy or agreement, as detailed in the
     indictment, existed between two or more persons to
     participate in the affairs of an enterprise that affected
     interstate commerce through a pattern of racketeering
     activity;
          Second: that defendant deliberately joined or became
     a member of the conspiracy or agreement with knowledge of
     its purpose[;] and[ ]
          Third: the defendant agreed that someone, not
     necessarily the defendant, would commit at least two of the
     racketeering acts detailed in the indictment.
695 F.3d at 1131.
     Although Garcia objects to his membership in the RICO conspiracy,
he makes conflicting statements regarding his membership in the

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conspiracies alleged in counts 2 and 8. The evidence presented at the
hearing was that Garcia was a member of the Nortenos, he made
statements 1c and 2c, and may have also made statements 1a and 2a.
Those statements clearly show that there was an agreement on June 8
to “go get some scraps [Surenos gang members]” and that they did just
that by shooting men they believed to be Surenos.                    There was also an
agreement to rob a house prior to the commission of the robbery.
Garcia was then involved in the robbery.                 The court finds that there
is sufficient evidence to establish the existence of the conspiracies
alleged   in   counts     1,   2,   and    8,      and    Garcia’s     membership   and
participation in those conspiracies.
     The court further finds that Ramirez was also a member of the
conspiracies alleged in counts 1, 2, and 8.                       The evidence at the
hearing was that Ramirez was involved in both the robbery and the
shooting. Ramirez instigated the robbery by picking out the house and
he was clearly pleased by the murder of Peralta as evidenced by
statement 1b.    Ramirez is also a documented member of the Nortenos.
                          Statements 1a, 1b, and 1c
     Turning to the statements, Garcia asserts that statements 1a and
2a are inadmissible because the informant is unsure of who actually
made the statements, Garcia or Ramirez.                  The evidence was that both
Garcia and Ramirez were either standing or sitting next to each other
when the statements were made.              The fact that the witness cannot
identify the speaker goes to the weight of the evidence and not its
admissibility.    Garcia can cross examine the witness at trial about
his or her recollection. Because both Garcia and Ramirez were members
of the conspiracy, the statements would be admissible against either

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or both if they were made in furtherance of the conspiracies.
     Discussions of future intent “that set transactions to the
conspiracy    in   motion”    are   statements      made   in    furtherance       of   a
conspiracy.    Rutland, 705 F.3d at 1253.             Statements 1a and 2a were
both made in furtherance of the conspiracies as they were the
formation of plans to “get some scraps” and to rob a home. Therefore,
they are admissible against both Garcia and Ramirez.
     Garcia argues that statement 1b is inadmissible because it was
made after the conspiracy ended.            The statement “you really got that
one” was made in the car after they were fleeing the shooting.
Although the shooting had concluded, the court does not find that the
conspiracy to murder ended.         The conspiracy to murder began as they
left Garcia’s house in a car.        After the murder, they all returned to
Garcia’s house.     The court finds that the murder conspiracy did not
end until, at the earliest, the point they made it safely home to
Garcia’s house.
     Garcia also contends that statement 1b was a narrative and
therefore not made in furtherance of the conspiracy.                     “Statements
between coconspirators which provide reassurance” and statements
“explaining events of importance to the conspiracy” are made in
furtherance of the conspiracy.         Rutland, 705 F.3d at 1253.               This was
an affirmation that the goal of the conspiracy was completed.                      It is
admissible against Garcia and Ramirez.
     Statement 1c, the threat to Worthey and Wright, is admissible
against both Garcia and Ramirez because it benefitted the RICO
conspiracy and the murder conspiracy as it would prevent a member from
being prosecuted.     See Rutland, 705 F.3d at 1253 (paying someone to

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keep quiet about a crime in furtherance of a conspiracy); Carson, 455
F.3d at 367 (D.C. Cir. 2006)(attempts to silence a witness is a
statement in furtherance of a conspiracy).
                             Statements 2a, 2b, 2c
       Both   statements    2a   and    2b   are    clearly      statements      made   in
furtherance    of   the    robbery     conspiracy      because     they   signify       the
planning of the object of the conspiracy and the decision of which
house to rob.    Therefore, they are both admissible against Garcia and
Ramirez.
       Statement 2c was made by Garcia and indicated that he wanted
Wright to drive east so they would avoid police who were in the area
investigating the robbery that they had committed. Garcia argues that
this statement doesn’t make sense and is not credible because the
facts do not support that they left the commission of the crime in a
car.    Garcia and Ramirez allegedly walked to the house which was
robbed and then returned on foot to Garcia’s house.                  The evidence at
the hearing was that statement 2c was made when they were driving to
commit the murder which was discussed in statements 1a-1c.                               A
statement occurring after a robbery is not made in furtherance of the
conspiracy because at that point the conspiracy has ended.                       Rutland,
705 F.3d at 1252-53.       Therefore, this statement is not admissible as
evidence of the robbery conspiracy.                   However, the statement is
admissible as evidence of the overall RICO conspiracy.                    See id. (in
a case involving multiple conspiracies, a statement may be admissible
to one or all of the alleged conspiracies).               The statement is made in
furtherance of the overreaching RICO conspiracy because they are
attempting to avoid police detection of their crimes.

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                          Josh Flores (Doc. 539)11
      Statements 2a, 2b and 2c are also offered against Josh Flores.
Flores makes similar arguments that were raised by Garcia.                    The
evidence at the James hearing established that Flores was at Garcia’s
house when the statements were made to go rob a house.              Flores left
with Garcia, Jesus Flores and Ramirez and walked to the victims’
house. Statement 2b was then made by Ramirez to “do” a certain house.
Flores entered the house with the other three defendants and robbed
the victims.   Flores then returned to Garcia’s house on foot.             Flores
is a member of the Nortenos gang and is charged in the VICAR
conspiracy to commit robbery but not charged in the RICO conspiracy.
      The court finds that there is sufficient evidence to conclude
that Flores is a member of the conspiracy to commit robbery.                  The
court also finds that statements 2a and 2b were made in furtherance
of the conspiracy as discussed supra.
      With respect to statement 2c, this statement was made in Wright’s
car and Flores was not present.      The statement has been found to be
admissible as to the RICO conspiracy but not the VICAR conspiracy to
commit robbery.      Therefore, it is not admissible against Flores
because the government has not attempted to establish that Flores was
an uncharged member of the RICO conspiracy.
      Donte Barnes (Doc. 533) and Alfredo Beltran-Ruiz (Doc. 537)
                            Statements 3 and 3a
      Statements 3 and 3a concern a shooting which occurred on March
15,   2011.    The   government   contends     that    these   statements     are

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       Jesus Flores did not appear at the James hearing and did not
object to the admission of the statements against him.

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admissible as evidence of the VICAR conspiracy to murder Reyes Delira-
Padilla.     Barnes was arrested after the shooting about a block from
the scene.    Beltran-Ruiz was not arrested until a few days later.          On
March 20, Beltran-Ruiz told Laura Rodriguez to go get something from
under a lawn mower at Humberto Ortiz’ house.         This statement was made
while Beltran-Ruiz was incarcerated.          The statement is admissible
against Beltran-Ruiz because it is an instruction.            See Rutland, 705
F.3d at 1253.    It is not admissible against Donte Barnes.
     Statement 3a, however, is quite a different matter.                   Even
presuming that both Barnes and Beltran-Ruiz were members of the
conspiracy to murder, the statement was made by Beltran-Ruiz several
days after the murder and it also is hearsay within hearsay. See Fed.
R. Evid. 805 (“Hearsay included within hearsay is not excluded . . .
if each part of the combined statement conforms with an exception to
the hearsay rule. . . .”) The statement includes an individual telling
Beltran-Ruiz about her conversation with an unidentified “lady.”
Moreover, the statement was made after the conspiracy to murder had
concluded.     There is no evidence that the conspiracy charged was
ongoing on March 25.       In fact, the indictment charges that the
conspiracy occurred on March 15.
     The government contends that the statement is admissible because
it identifies Barnes and cites to United States v. Smith, 833 F.2d 213
(10th Cir. 1987).    In Smith, the Tenth Circuit held that a statement
identifying a member of conspiracy is admissible as a coconspirator
statement.      However, the facts in Smith are not similar.                The
identification of the coconspirator in Smith was made during the
conspiracy, not ten days later.           Smith does not stand for the

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proposition that an identification of a coconspirator is admissible
even if it is made after the conspiracy had concluded.               Statement 3a
is not admissible against either Barnes or Beltran-Ruiz.
            Alfonso Banda-Hernandez (Doc. 537), Enrique Gobin
                         and Andrew Gusman (Doc. 543)
                           Statements 4a, 4b and 4c
      Statements 4a, 4b and 4c were made by Jesus Sanchez on March 30
and were disclosed to police by Yesenia Rios who presumably will
testify at trial.    On March 30, Gobin and Sanchez were in one vehicle
and Banda-Hernandez and Gusman were in a different vehicle.                  Evidence
at the hearing established that all four defendants are members of the
Nortenos gang.     The two vehicles approached George Gonzalez, a known
Surenos gang member, at a Love’s gas station and gang slurs and gang
hand signals were exchanged between the four defendants and Gonzalez.
The two vehicles then followed Gonzalez. Sanchez, who was a passenger
in Gobin’s car, called Banda-Hernandez on his cell phone and told him
to “come where they are.”       (Exh. 1, statement 4a).         The two vehicles
followed Gonzalez around town.             Sanchez then shot at Gonzalez.
Sanchez called Banda-Hernandez and told him to get out of the area
because “it will be getting hot.”            (Exh. 1, statement 4c).             Both
vehicles left the area and met at a location where Sanchez told Banda-
Hernandez that he shot at Gonzalez.
      The court finds that a conspiracy to murder George Gonzalez
existed and that all four defendants were members of that conspiracy
for   the    following    reasons:   all   four    defendants      had   a     heated
interaction with Gonzalez prior to the shooting; Sanchez directed
Banda-Hernandez on where to go in order to facilitate their objective;

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the   four   defendants    followed    Gonzalez      while     he   stopped     at   his
girlfriend’s    house;     Sanchez    instructed      Banda-Hernandez      to    evade
police; and, Sanchez informed the group that the objective was met.
      Statements 4a and 4c were made in furtherance of the conspiracy.
Statement 4a was made to maintain the flow of information or set the
objective of the conspiracy in motion.              Rutland, 705 F.3d at 1253.
Statement 4c was made in furtherance of the conspiracy because it was
an instruction to leave the area to evade the police.                  Statement 4b
was also made in furtherance of the conspiracy. Although the shooting
had already occurred, Banda-Hernandez did not know the status of the
conspiracy. Statements made between coconspirators which “inform each
other of the current status of the conspiracy” are made in furtherance
of the conspiracy.         Therefore, statements 4a, 4b, and 4c are all
admissible against Gobin, Banda-Hernandez and Gusman.
                 Fabian Neave (Doc. 538) and Jose Neave
                                  Statement 7
      Fabian Neave is charged in the RICO conspiracy count and charged
in count 27 with a VICAR substantive count alleging assault with a
dangerous weapon on August 27, 2011.            Jose Neave is not charged in a
conspiracy count but is charged in a VICAR substantive count alleging
attempted murder on August 27, 2011.               On that date, Jesus Torres
arrived at Humberto Ortiz’ home.        Jesus Torres stated that he did not
like “scraps” living by his mom’s house and wanted to confront them.
(Exh. 1, statement 7).12      Torres asks other individuals in the home to


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       This statement was made in the presence of Christy Torres who
testified in front of the grand jury. Presumably, Torres will testify
at trial.

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go with him. Fabian and Jose are not present. Torres and others walk
to a residence where an individual who was associated with the Surenos
was located and an altercation ensued.            Jose and Fabian then pulled
up to the house in Jose’s vehicle and joined in the altercation.
        The government asserts that there is a conspiracy and Fabian was
a member of that conspiracy.13        The government, however, neglects to
explain the conspiracy at issue here.            The government also suggests
that Fabian and Jose are members of the conspiracy because they
magically arrive after the altercation began.                 There is no evidence
to support that they had agreed to be a part of some unnamed
conspiracy on August 27, 2011.
        At this time, the court finds that the government has not
established that Fabian and Jose are a part of the conspiracy which
existed on August 27.         Their involvement in a gang fight does not
equate to membership in a conspiracy and the government has not
provided any authority which would suggest otherwise.                    Therefore,
statement 7 cannot be offered against Fabian and Jose.                    It can be
admitted against Torres.
                                   Conclusion
        Jayson Vargas’ objections are overruled in part and sustained in
part.        (Doc. 526).   Pedro Garcia’s objections are overruled.            (Doc.
527).        Angel Cerda’s motion is denied.     (Doc. 528).      Gonzalo Ramirez’
objections are overruled.        (Doc. 532).      Donte Barnes’ objections are
sustained in part and overruled in part.             (Doc. 533).       Juan Torres’
motion to join is denied as moot.           (Doc. 534).        Adam Flores’ motion

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       Jose did not file any written submissions but was present at
the hearing and objected to the testimony.

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is granted.    (Doc. 535).      Alfonso Banda-Hernandez’ objections are
overruled.    (Doc. 537).      Fabian Neave’s objections are sustained.
(Doc. 538).   Josh Flores’ motion to exclude is denied.              (Doc. 539).
Andrew Gusman’s objections are overruled.           (Doc. 543).




     IT IS SO ORDERED.
     Dated this     16th     day of May 2013, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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